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                                                                                                               Email: tborelli@lambdalegal.org




        September 18, 2023


        The Honorable Nwamaka Anowi, Clerk of Court
        U.S. Court of Appeals for the Fourth Circuit
        1100 East Main Street, Suite 501
        Richmond, Virginia 23219


        Re:       Kadel v. Folwell, No. 22-1721
                  Response to Defendants-Appellants’ Notice of Supplemental Authorities
                  United States v. Eknes-Tucker, — F.4d — (11th Cir. 2023)


        Dear Clerk Anowi:

                  Pursuant to Federal Rule of Appellate Procedure 28(j), Plaintiffs-Appellees

        respond to Defendants-Appellants (“Defendants”) letter regarding Eknes-Tucker v.

        Governor of Alabama, No. 22-11707, 2023 WL 5344981 (11th Cir. Aug. 21,

        2023). That decision has no bearing on this case.

                  Defendants point first to Eknes-Tucker’s ruling that there is no sex

        discrimination because the statute “establishe[d] a rule that applies equally to both

        sexes.” Id. at *16. But as this Court has recognized, applying a sex-based rule to

        both sexes does not nullify the classification. Peltier v. Charter Day Sch., Inc., 37

        F.4th 104, 124 (4th Cir. 2022); see also J.E.B. v. Alabama ex rel. T.B., 511 U.S.


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        127, 141 (1994). The “fact of equal application does not immunize the statute”

        from the “burden of justification” required by the Fourteenth Amendment. Loving

        v. Virginia, 388 U.S. 1, 9 (1967).

              Second, Eknes-Tucker ruled that there is no classification because the sex-

        based terms in the statute appear “only because the medical procedures [the

        statute] regulates are themselves sex-based.” 2023 WL 5344981 at *16. But this

        is a reason to apply heightened scrutiny, not to sidestep it. This simply concedes

        that the policy “cannot be stated without referencing sex” and, “[o]n that ground

        alone, heightened scrutiny should apply.” Grimm v. Gloucester Cnty. Sch. Bd.,

        972 F.3d 586, 608 (4th Cir. 2020).

              Third, Eknes-Tucker found Bostock v. Clayton Cnty., Georgia, 140 S. Ct.

        1731 (2020) to have “minimal relevance” because Title VII and the Equal

        Protection Clause have “differently worded provisions.” 2023 WL 5344981 at *16

        (quoting Students for Fair Admissions, Inc. v. President & Fellows of Harvard

        Coll., 143 S. Ct. 2141, 2220 (2023) (“SFFA”) (Gorsuch, J., concurring)). But

        nothing in Bostock or Justice Gorsuch’s concurrence in SFFA suggests that what

        constitutes a classification would vary between the Equal Protection Clause and

        Title VI or Title VII. While Plaintiffs-Appellees’ Equal Protection claims do not

        depend on Bostock, it remains persuasive and relevant authority.
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                                           Best regards,




                                           Tara L. Borelli
                                           Senior Counsel

        CC: All Counsel of Record, served via CM/ECF.
